                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

UNITED STATES OF AMERICA            )                    3:12-CR-239-1
                                    )
         vs.                        )
                                    )                    ORDER
RAMIN AMINI (1)                     )
____________________________________)

       THIS MATTER is before the Court on its own Motion to administratively close the case

as to defendant, Ramin Amini. The defendant appears to remain a fugitive with no activity

taking place in this case in recent times.

       It is therefore ORDERED that this case be deemed closed for administrative purposes

only, subject to re-opening upon the apprehension or appearance of the defendant, Ramin Amini.

       SO ORDERED.

                                        Signed: September 21, 2017




   Case 3:12-cr-00239-GCM-DCK                Document 1280           Filed 09/21/17   Page 1 of 1
